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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
CINCINNATI DIVISION

SCOTT POSTON
22 Forest Avenue
Fort Thomas, Kentucky 41075,

PLAINTIFF,
v.

ARAMARK BUSINESS
FACILITIES, LLC

c/o CT Corporation System

4400 Easton Commons Way, Suite 125
Columbus, Ohio 43219,

SERVE: CERTIFIED MAIL

Case No.:

 

CINCINNATI BENGALS, INC.
c/o Michael Brown

One Paul Brown Stadium
Cincinnati, Ohio 45202,
SERVE: CERTIFIED MAIL

Judge:

 

and

HAMILTON COUNTY, OHIO
c/o Jeff Aluotto

138 East Court Street, Room 603
Cincinnati, Ohio 45202,
SERVE: CERTIFIED MAIL

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DEFENDANTS.
VERIFIED COMPLAINT WITH JURY DEMAND
Comes now the Plaintiff, Scott Poston (“Poston”), by counsel, and for his Complaint
against Defendants, Cincinnati Bengals, Inc. (“Cincinnati Bengals”), Aramark Business Facilities,
LLC (“Aramark”), and Hamilton County, Ohio (“Hamilton County”), states as follows:
DESCRIPTION OF THE PARTIES

1, Poston is an individual and citizen of the Commonwealth of Kentucky.

 
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2. Cincinnati Bengals, Inc. is an Ohio corporation that owns a professional football
team in Hamilton County, Ohio, and plays its home games at Paul Brown Stadium. Cincinnati
Bengals, Inc. is responsible for the management and operation of Paul Brown Stadium on game
days.

3, Aramark is a limited liability company organized and existing under the laws of the
State of Delaware, with its principal place of business in the State of Pennsylvania. Aramark
provides janitorial and concessionaire services at Paul Brown Stadium on game days.

4, Hamilton County is a governmental entity of the State of Ohio. Hamilton County
owns Paul Brown Stadium and may sue and be sued in the name of its County Administrator.

JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because
Poston and Defendants are citizens of different states and the amount in controversy in this case
exceeds $75,000.

6. Venue in the Southern District of Ohio, Cincinnati Division, is proper pursuant to
28 U.S.C. § 1391 because this is the judicial district in which a number of the Defendants reside,

and this is the judicial district where a substantial part of the events giving rise to Poston’s claims

 

occurred.
FACTUAL ALLEGATIONS
7. Poston has been a season ticket holder for the Cincinnati Bengals for twenty-plus
years.
8. On October 14, 2018, Poston attended the Cincinnati Bengals’ home football game

against the Pittsburgh Steelers with his minor son.

9. During the second half of the game, Poston slipped on the concourse outside of
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Section 149 in Paul Brown Stadium while attempting to enter the bathroom.

10. Prior to Poston slipping on the concourse, another fan vomited inside of a stall in
the Section 149 bathroom.

11. | Upon information and belief, stadium personnel attempted to clean-up the vomit by
using an absorbent called D-Vour.

12. The instructions for D-Vour state that the absorbent should be applied in small
amounts and cleaned up within approximately one minute of its application.

13. Contrary to those instructions, stadium personnel dumped a huge amount of the
substance on the bathroom floor and then failed to clean it up for an extended period of time.

14. As would be expected, fans exiting the bathroom where the absorbent had been
dumped soon tracked the substance out onto the concourse.

15. It was acold and rainy day, and the concourse area and bathroom became very slick
as a result of the misuse of the absorbent.

16. Defendants knew or reasonably should have known of the dangerous condition, yet
they failed to clean up the substance or close the affected area of the concourse.

17. Shortly thereafter, Poston slipped on the substance, fell backwards, and put his
hands behind his back to brace his fall, injuring his right shoulder in the process. Several other
fans slipped on the concrete after Poston did, and they too suffered serious injuries.

18. After his fall, Poston was taken from the Section 149 concourse to a medical area
operated by the Cincinnati Bengals.

19. The Cincinnati Bengals medical staff told Poston that he suffered a minor soft tissue
injury and placed him in a makeshift sling.

20. Poston was unable to sleep that night and went to his primary care physician the

 
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following day.

21. Poston’s primary care physician then referred him to a specialist who performed an
MRI. After reviewing the MRI, that doctor sent Poston to OrthoCincy.

22. | The MRI revealed that Poston suffered serious injuries in the fall, including full
thickness tears to three rotator cuff muscles (namely, a supraspinatus tear, infraspinatus tear, and
an upper body subscapularis tear), a dislocated bicep and a deltoid and labrum strain.

23. In November 2018, Poston underwent total reconstructive surgery on his right
shoulder, which included the placement of nine anchors in his shoulder bone.

24. Poston has been self-employed for over twenty years as a lighting technician in
films, commercials and sports. Poston’s business has been shut down and lost significant clients
and potential clients as a result of his injuries.

25. Poston continues to have regular rehabilitation sessions to regain strength, function

and range of motion in his right shoulder.

COUNT I
(Negligence Against All Defendants)

26. Poston hereby incorporates the preceding paragraphs as if specifically set forth

herein.

27. As the owner of Paul Brown Stadium, Hamilton County has a duty to maintain the
property in a reasonably safe condition for people attending the Cincinnati Bengals football games.
28. As the operator of Paul Brown Stadium, the Cincinnati Bengals have the same duty.
29. As a vendor hired by the Cincinnati Bengals to perform janitorial and facilities
management services, Aramark owes fans a duty to keep the property in a reasonably safe

condition.

30. Defendants breached their duties to Poston by failing to keep the property in a
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reasonably safe condition.

31. Defendants also breached their duties to Poston by failing to implement and follow
appropriate safety protocols at the stadium, despite knowing that fans routinely consume alcohol
past the point of intoxication while attending Cincinnati Bengals’ home football games.

32.  Poston’s injuries were the direct and proximate result of Defendants’ violations of

their legal duties.
COUNT
(Negligent Hiring, Retention, and Training
Against Aramark and the Cincinnati Bengals)

33. Poston hereby incorporates the preceding paragraphs as if specifically set forth
herein.

34. Aramark and the Cincinnati Bengals knew or reasonably should have known that
the stadium personnel who attempted to clean up the bathroom outside of Section 149 of Paul
Brown Stadium by pouring D-Vour on the bathroom floor were unfit and not properly trained for
the job for which they were employed.

35. | The placement and retention of the stadium personnel in their positions created an
unreasonable risk of harm to Poston and other fans.

36. | Aramark and the Cincinnati Bengals failed to exercise reasonable care in training
the stadium personnel to ensure that those individuals would provide janitorial and facilities
management services at Paul Brown Stadium in a reasonable, safe, and prudent manner.

37. The injuries suffered by Poston were a direct and proximate result of Aramark and

the Cincinnati Bengals’ negligent hiring, retention, and training of the stadium personnel.

COUNT Ul
(Negligent Entrustment Against All Defendants)

38. | Poston hereby incorporates the preceding paragraphs as if specifically set forth
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herein.

39. Defendants negligently entrusted the aforementioned janitorial and facilities
management services of Paul Brown Stadium, including, without limitation, the clean-up and
maintenance of the bathroom outside of Section 149, to a company and/or individual they knew to
be inexperienced and/or careless.

40. | The company and/or individual was incompetent to provide the necessary janitorial
and facilities management services, and Defendants knew or should have known of that fact.

4], Poston’s injuries are a direct and proximate result of Defendants’ negligent
entrustment of these services and responsibilities to the aforementioned company and/or

individual.

COUNT IV
(Intended Beneficiary Contract Claim Against Hamilton County)

42. Poston hereby incorporates the preceding paragraphs as if specifically set forth
herein.

43. The Paul Brown Stadium lease dated May 29, 1997 (“Lease”) includes a provision
that requires Hamilton County to maintain a Commercial General Liability insurance policy that
insures against any injuries at Paul Brown Stadium.

44. __ Agents for the insurer of the Cincinnati Bengals have indicated that due to this
insurance obligation, Hamilton County is responsible for compensating Poston for his injuries.

45. Hamilton County has failed to provide the necessary insurance for Poston’s injuries

despite multiple demands to do so and has therefore breached its obligations under the terms of

the Lease.

46. Poston is an intended third-party beneficiary of the Lease and has suffered harm as

a result of Hamilton County’s violation of the same.
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WHEREFORE, Plaintiff, Scott Poston, respectfully demands judgment for compensatory
and punitive damages in an amount to be determined at trial, interest and attorney fees, and any

and all other relief to which he may be entitled.

Respectfully submitted,

/s/ Kevin F. Hoskins

Kevin F. Hoskins (0078366)

Christopher B. Markus (0081221)

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Attorneys for Plaintiff, Scott Poston

JURY DEMAND

Plaintiff demands a trial on all issues triable to a jury.

/s/ Kevin F. Hoskins
Kevin F. Hoskins

INSTRUCTIONS TO THE CLERK

Please serve the Defendants at the addresses listed in the caption of this Verified Complaint
by certified mail, return receipt requested, according to law.

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VERIFICATION
The undersigned, Scott Poston, hereby verifies that the factual allegations made in the

foregoing Verified Complaint are true and accurate to thesbest “Hp his knowfedge and belief.

 

 

Scott \ fil

STATE OF KENTUCKY _ )
ss
COUNTY OF Vordon )
Aas
Subscribed, sworn to, and acknowledged before me, this day of ,

2019. Bete Nespnich

Notary Public, State-at-Large
My Commission Expires: oe F P-

OFFIC! AL SE, SEAL
RHONDA McCORMICK
NOTARY PUBLIC - KENTUCKY

785542v1 STATE-AT-LARGE !D# 601301
My Commission Expires. June iG 2022

 

 

 
